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     UNITED STATES OF AMERICA
 9
10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,              ED CR No. 17-278-MWF

13             Plaintiff,                   GOVERNMENT’S EX PARTE APPLICATION
                                            FOR AN ORDER ALLOWING DISCLOSURE
14                  v.                      OF GRAND JURY TESTIMONY;
                                            MEMORANDUM OF POINTS AND
15   CHRISTOPHER LLOYD BURNELL,             AUTHORITIES; DECLARATION OF AUSA
                                            JERRY C. YANG; [PROPOSED] ORDER
16             Defendant.

17                                          Trial Date:     February 13, 2018
                                            Time:           8:30 a.m.
18                                          Place:          Courtroom of the
                                                            Hon. Michael W.
19                                                          Fitzgerald

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22        Plaintiff, United States of America, by and through its counsel

23   of record, the United States Attorney for the Central District of

24   California, hereby applies ex parte for an order pursuant to Rule

25   6(e)(3)(E)(i) of the Federal Rules of Criminal Procedure,

26   authorizing the government to provide defendant’s counsel of record

27   with a copy of the grand jury testimony of a witness whom the

28   government may call at trial.
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 1        The government makes this application because of defendant’s

 2   need to prepare his case and the disclosure requirements of the

 3   Jencks Act, 18 U.S.C. § 3500.      This application is based on the

 4   attached Memorandum of Points and Authorities and Declaration of

 5   [AUSA NAME], the files and records of this case, and such further

 6   evidence and argument as may be presented at any hearing on this

 7   application.

 8   Dated: January 23, 2018            Respectfully submitted,
 9                                      NICOLA T. HANNA
                                        United States Attorney
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                                        JOSEPH B. WIDMAN
11                                      Assistant United States Attorney
                                        Chief, Riverside Branch Office
12

13                                             /s/
                                        JERRY C. YANG
14                                      Assistant U.S. Attorney
                                        Deputy Chief, Riverside Branch
15                                      Office
16                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
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 1                     MEMORANDUM OF POINTS AND AUTHORITIES

 2        Federal Rule of Criminal Procedure 6(e)(2)(B) provides in

 3   relevant part: “Unless these rules provide otherwise, the following

 4   persons must not disclose a matter occurring before the grand jury:

 5   . . . (vi) an attorney for the government . . . .”         Fed. R. Crim.

 6   6(e)(2)(B).   Rule 6(e)(3)(E) provides in relevant part:         “The court

 7   may authorize disclosure –- at a time, in a manner, and subject to

 8   any other conditions that it directs –- of a grand-jury matter:

 9   [] preliminarily to or in connection with a judicial

10   proceeding . . . .”    Fed. R. Crim. 6(e)(3)(E).

11        A trial court has “substantial discretion to order or deny

12   release” of a grand jury transcript.       United States v. Evans &

13   Associates Construction Co., 839 F.2d 656, 658 (9th Cir. 1988).              The

14   starting point for the Court’s analysis is the “long-established

15   policy that maintains the secrecy of the grand jury proceedings in

16   the federal courts.”    Id. (citation omitted).      The Supreme Court has

17   established five policy reasons for maintaining the secrecy of grand

18   jury proceedings:

19        (1) to prevent the escape of those whose indictment may be
          contemplated; (2) to insure the utmost freedom to the
20        grand jury in its deliberations, and to prevent persons
          subject to indictment or their friends from importuning
21        the grand jurors; (3) to prevent subornation of perjury or
          tampering with the witnesses who may testify before [the]
22        grand jury and later appear at the trial of those indicted
          by it; (4) to encourage free and untrammeled disclosures
23        by persons who have information with respect to the
          commission of crimes; [and] (5) to protect [an] innocent
24        accused who is exonerated from disclosure of the fact that
          he has been under investigation, and from the expense of
25        standing trial where there was no probability of guilt.

26   United States v. Procter & Gamble Co., 356 U.S. 677, 681 n.6 (1958)

27   (internal quotations omitted); see also United States v. Dynavac,

28   Inc., 6 F.3d 1407, 1411 (9th Cir. 1993) (citing Procter & Gamble and
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 1   Douglas Oil Co. of Calif. v. Petrol Stops Nw., 441 U.S. 211, 219

 2   (1979), for the same proposition).        In United States Indus., Inc. v.

 3   United States District Court, the Ninth Circuit reasoned that a

 4   determination of whether disclosure of grand jury material should be

 5   made under Rule 6(e) depends on the need of the party seeking

 6   disclosure and on the “policy considerations for grand jury secrecy

 7   as they apply to the request for disclosure under consideration.”

 8   345 F.2d 18, 21 (9th Cir. 1965).      The court held:     “[I]f the reasons

 9   for maintaining secrecy do not apply at all in a given situation, or

10   apply to only an insignificant degree, the party seeking the

11   disclosures should not be required to demonstrate a large compelling

12   need.”   Id.

13        In this instance, the policy considerations requiring secrecy

14   are inapplicable with respect to those witnesses who will testify at

15   trial because the case has been indicted.        See Dynavac, 6 F.3d at

16   1412 (“When the grand jury investigation is already terminated and

17   an indictment has been issued, only ‘institutional’ concerns are

18   implicated by the documentary disclosure.”) (citation omitted).

19   Moreover, disclosure of the grand jury testimony to defense counsel,

20   who has requested such disclosure, would be in the interest of

21   justice and allow defense counsel material necessary to the defense

22   in advance of trial.

23        For the foregoing reasons, the government respectfully requests

24   that this Court issue an order authorizing the government to provide

25   defense counsel with a copy of the grand jury testimony of a witness

26   the government may call at trial.

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 1                          DECLARATION OF JERRY C. YANG

 2        I, Jerry C. Yang, declare and state as follows:

 3        1.      I am an Assistant United States Attorney for the Central

 4   District of California and am assigned to the prosecution of United

 5   States v. Christopher Lloyd Burnell, ED CR No. 17-238.          I make this

 6   declaration in support of the government’s ex parte application for

 7   an order permitting disclosure of a grand jury transcript.

 8        2.      I expect that the government may call at trial a witness

 9   who testified before the grand jury during the investigation of this

10   case.     Such testimony constitutes a statement under the Jencks Act,

11   18 U.S.C. § 3500, which the government is required to provide to the

12   defendant.

13        3.      On January 22, 2018 and January 23, 2018, I contacted

14   defense counsel, Jeffrey Dains, and informed him that the government

15   would be filing the present ex parte application and asked for his

16   position on the ex parte nature of the application.         Defense counsel

17   informed me that he does not oppose the application or the ex parte

18   nature of the application, “on the condition that all grand jury

19   information is provided, including the transcripts.”

20        I declare under penalty of perjury under the laws of the United

21   States of America that the foregoing is true and correct and that

22   this declaration is executed at Riverside, California, on January

23   23, 2018.

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25                                           /s/ Jerry C. Yang
                                             JERRY C. YANG
26                                           Assistant U.S. Attorney
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